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                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA




                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                        NORTHEASTERN DIVISION

WILLIAM BARNES,                )
                               )
         Plaintiff,            )
                               )                  CIVIL ACTION FILE
                               )                  NO.__________________
vs.                            )
                               )
LIBERTY LIFE ASSURANCE COMPANY )
OF BOSTON,                     )
                               )
         Defendant.            )


            COMPLAINT FOR RECOVERY OF PLAN BENEFITS
           AND FOR ENFORCEMENT OF RIGHTS UNDER ERISA

      NOW INTO COURT, through undersigned counsel, comes Plaintiff,

William Barnes, who brings this cause of action to obtain relief from Defendant’s

refusal to pay Long Term Disability benefits due under an employee benefits plan

and for Defendant’s other violations of the Employee Retirement Security Act of

1974 (“ERISA”), respectfully represents as follows:

 1.   The Court’s jurisdiction is invoked pursuant to 28 U.S.C. 1337 and 29

      U.S.C. 1132(e) (ERISA 502(e)). Plaintiff’s claims relate to an employee

      welfare benefits plan as defined by ERISA, 29 U.S.C. 1001 et seq. and the

      subject Disability Benefit Plan constitutes a “plan under ERISA.”

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2.   The ERISA statute at 29 U.S.C. 1133, as well as Department of Labor

     regulations at 29 CFR 2560.503-1, provides a mechanism for administrative

     or internal appeal of benefit denials. In this case, those avenues of appeal

     have been exhausted and this matter is now properly before this Court for

     judicial review.

3.   Venue is proper pursuant to 29 U.S.C. 1132(e)(2).

4.   William Barnes resides at 995 Co. Road 257, Bryant, Alabama, 35958.

5.   Defendant, Liberty Life Assurance Company of Boston (hereinafter “Liberty

     Life”), is the claims administrator of the Plan and is the entity which made the

     decision to deny Plaintiff’s claim for benefits under the Plan.

6.   The named defendant in the above caption is an insurance company authorized

     to transact business in this state, and may be served through their designated

     agent for service of process: Corporation Service Company, Inc., 641 South

     Lawrence Street, Montgomery, AL 36103.

7.   Defendant, Liberty Life, issued Group Policy Number GF3-850-291417-01

     to Astec Industries, Inc.

8.   At all material times, William Barnes was employed by Astec Industries,

     Inc.




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9.   At all relevant times, William Barnes was a participant or beneficiary of the

     plan and is covered by Group Policy Number GF3-850-291417-01.

10. Liberty Life is, and at all relevant times was, the Plan Administrator and/or

     Plan Sponsor of the plan and of other benefit plans under which Plaintiff

     may be entitled to benefits pursuant to a finding of disability.

11. William Barnes ceased to work due to a disability while covered under the

     Plan.

12. The Plan is a group disability income insurance policy.

13. Plaintiff is covered by Group Policy Number GF3-850-291417-01 that

     provides benefits, including long-term disability (“LTD”) coverage.

14. The Defendant is the party obligated to pay benefits and to determine

     eligibility for benefits under Group Policy Number GF3-850-291417-01.

15. The Policy was effective on October 1, 2014, at all times relevant for this

     cause of action.

16. Plaintiff ceased work due to a disability on or about November 30, 2015,

     while covered under the Plan.

17. Plaintiff timely filed an application for benefits under the Plan.

18. Plaintiff was approved for short term disability benefits from December 8,

     2015 through May 30, 2016.

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19. Plaintiff was approved for LTD benefits effective May 31, 2016.

20. By letter dated July 15, 2016, Liberty Life denied the Plaintiff’s LTD claim.

21. By letter dated August 4, 2016, Liberty Life approved Plaintiff’s claim for

    LTD benefits.

22. Plaintiff received LTD benefits from the Defendant from May 31, 2016

    through May 31, 2018.

23. By letter dated June 1, 2018, Defendant determined that Plaintiff would not

    meet the definition of “disability” beyond May 31, 2018.

24. Plaintiff appealed the decision denying his claim.

25. On January 17, 2019, Defendant sent a letter to Plaintiff advising they were

    not going to change their decision to deny his claim.

26. Plaintiff has exhausted his administrative remedies under the Plan with

    respect to LTD benefits, and according to the Defendant, he is permitted to

    bring a civil action under Section 502(a) of the Employee Retirement

    Income Security Act of 1974 (“ERISA”).

27. The Defendant failed to consider the opinions of the Plaintiff’s treating

    physicians in making the disability determination.

28. The Defendant improperly denied the Plaintiff’s claim for LTD benefits.




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29. Plaintiff has been and continues to be disabled as defined by the provisions

    of the Plan.

30. Under the terms of the Plan, Defendant agreed to provide Plaintiff with long

    term disability benefits in the event the Plaintiff became disabled as defined

    by the Plan.

31. Defendant failed to provide benefits due under the terms of the Plan, and this

    denial of benefits constitutes a breach of the Plan.

32. The decision to deny benefits was wrong and unreasonable under the terms

    of the Plan.

33. The Defendant was under a perpetual conflict of interest because the benefits

    would have been paid out of their own funds.

34. The Defendant allowed their concern over their own funds to influence their

    decision-making.

35. The Defendant failed to render the benefit determination in accordance with

    the regulatory requirements. Therefore, de novo review is appropriate.

36. The decision to deny benefits and the decision-making process was arbitrary

    and capricious.

37. The decision to deny benefits was not supported by substantial evidence in

    the record.

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 38. As a direct and proximate result of the aforementioned conduct of the

      Defendant in failing to provide benefits for Plaintiff’s disability, Plaintiff has

      been damaged in the amount equal to the amount of benefits to which he

      would have been entitled to under the Plan.

 39. As a direct and proximate result of the aforementioned conduct of the

      Defendant in failing to provide benefits for Plaintiff’s disability, Plaintiff has

      suffered, and will continue to suffer in the future, damages under the Plan,

      plus interest and other damages, for a total amount to be determined.

WHEREFORE, Plaintiff requests that this Court grant him the following relief:

      (i)      A finding in favor of Plaintiff against the Defendant;

      (ii)     Damages in the amount equal to the disability income benefits to
               which he was entitled through the date of judgment, for unpaid
               benefits pursuant to 29 USC 1132(a)(1)(B);

      (iii)    Prejudgment and post judgment interest;

      (iv)     An Order requiring the Plan, the Plan Administrator, or appropriate
               Plan fiduciary to pay continuing benefits in the future so long as
               Plaintiff remains disabled under the terms of the Plan;

      (v)      An Order requiring the Plan, Plan Administrator, or appropriate Plan
               fiduciary to provide Plaintiff with any other employee benefits to
               which he may be entitled due to a finding of disability for so long as
               the Plaintiff remains disabled under the terms of the Plan;

      (vi)     Plaintiff’s reasonable attorney fees and costs; and,

      (vii) Such other relief as this Court deems just and proper.
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Dated this 26th day of March, 2019.


                               THE HAMILTON FIRM

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